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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

                                     Case Number: 1:20-cv-514


REPUBLIC TECHNOLOGIES (NA), LLC,
and SREAM, INC.,

                       Plaintiffs,

v.

14TH AVENUE CORPORATION d/b/a
BILO SMOKE and ABU SHAMAT
NAWZAT,

                  Defendants.
____________________________________/


               COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       The Plaintiffs, REPUBLIC TECHNOLOGIES (NA), LLC and SREAM, INC.,

(collectively referred to as the “Plaintiffs”), by and through their undersigned counsel, hereby

file this, their Complaint against the Defendants, 14TH AVENUE CORPORATION d/b/a BILO

SMOKE (hereinafter “BILO SMOKE”) and ABU SHAMAT NAWZAT (hereinafter

“NAWZAT”), and allege, as follows:

                                     Jurisdictional Allegations

       1.      This is a civil action against the Defendants for trademark infringement,

counterfeiting, and false designation of origin/unfair competition, under the Lanham Act (15

U.S.C. § 1051 et. seq.).

       2.      This Court has subject matter jurisdiction over the claims in this action that relate

to trademark infringement, counterfeiting, and false designation of origin/unfair competition

pursuant to the provisions of 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a).
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        3.      This Court has personal jurisdiction over the Defendants because BILO SMOKE

is incorporated in and has its principal place of business in Illinois, NAWZAT resides in Illinois,

and the Defendants regularly conduct and solicit business in the State of Illinois (including in

this Judicial District).

                                              Venue

        4.      Venue is proper in this district under 28 U.S.C. § 1391(b) in that the Defendants

reside in this district, a substantial part of the events or omissions giving rise to the claim

occurred in this district, and the Defendants are subject to personal jurisdiction in this Judicial

District with respect to this action, and there is no other district in which the action may

otherwise be brought.

                                             Parties

        5.      REPUBLIC TECHNOLOGIES (NA), LLC (hereinafter referred to as “Republic”)

is a Delaware corporation and has its principal place of business at 2301 Ravine Way, Glenview,

Illinois 60025. Republic is the registered owner of the “RooR” trademark.

        6.      Sream, Inc. (hereinafter referred to as “Sream”) is a California corporation and

has its principal place of business at 12869 Temescal Canyon Road, Suite A, Corona, California

92883. Sream is the exclusive U.S. licensee authorized to use the trademark “RooR” and has

been granted authority by the trademark owner to police and enforce the RooR trademark within

the United States.

        7.      BILO SMOKE is incorporated in Illinois, and has its principal place of business at

306 S State St. Marengo, IL 60152. BILO SMOKE has engaged in the offer for sale of

counterfeit RooR branded water pipes and related parts.

        8.      At all times material to this Complaint, NAWZAT owned, managed, and/or




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operated BILO SMOKE, and regularly exercised the authority to purchase products for resale,

decide which products BILO SMOKE            offered for sale, to hire and fire employees, and

controlled the finances and operations of BILO SMOKE .

                                   Facts Common to All Counts

   A. The History of the RooR Brand.

       9.     Martin Birzle is an award-winning designer and manufacturer of smokers’

products. Based in Germany, since 1995, Mr. Birzle marketed and sold products using the

trademark “RooR.” The RooR branded products, such as borosilicate jointed-glass water pipes,

parts, and accessories related thereto, are widely recognized internationally and are highly

renowned for their ornate and innovative characteristics. Indeed, the RooR brand is one of the

leading companies in the industry, and has garnered numerous awards and recognition for its

innovative products and designs.

       10.    For nearly two decades, Mr. Birzle worked to distinguish the RooR brand as the

premier manufacturer of glass water pipes by emphasizing the brand’s unwavering use of quality

materials and focusing on scientific principles which facilitate a superior smoking experience.

RooR branded products embody a painstaking attention to detail, which is evident in many facets

of authentic RooR branded products. It is precisely because of the unyielding quest for quality

and unsurpassed innovation that RooR branded products have a significant following and

appreciation amongst consumers in the United States and internationally.

       11.    As a result of the continuous and extensive use of the trademark “RooR,” Mr.

Birzle was granted valid and subsisting federal statutory and common law rights to the RooR

trademark. The RooR trademarks were retroactively assigned to Republic. The retroactive

assignment to RooR Int’l was duly recorded with the United States Patent and Trademark Office




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on August 22, 2019. A copy of the assignment recordation is attached hereto as Exhibit “A.”

       12.    Republic is the owner of United States trademarks which are registered on the

Principal Register and have become incontestable within the meaning of Section 15 of the

Lanham Act, 15 U.S.C. § 1065. The following is a list of Republic’s federally registered and

common law trademarks:

              a.         U.S. Trademark Registration Number 3,675,839 for the word mark

       “RooR” and its logo in association with goods further identified in registration in

       international class 034.

              b.         U.S. Trademark Registration Number 2,307,176 for the word mark

       “RooR” and its logo identified below in association with goods further identified in the

       registration in international classes 025 and 034.

              c.         U.S. Trademark and Registration Number 2,235,638 for the word mark

       “RooR” and its logo identified below in association with goods further identified in the

       registration in international class 021.

              d.         Common law and unregistered state law rights in the following variants of

       the registered “RooR” trademarks:




(Hereinafter collectively the “RooR Marks”). A copy of the USPTO registrations is attached

hereto as Exhibit “B.”

   B. The RooR Brand in the United States.


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       13.     Sream is a California corporation that has manufactured glass products and

various smokers’ articles, including water pipes, for nearly a decade. Additionally, since 2013,

Sream has been the exclusive licensee for the RooR Marks within the United States.

       14.     Pursuant to a licensing agreement between Sream and Mr. Birzle (hereinafter the

“License Agreement”), Sream has used the RooR Marks in commerce throughout the United

States continuously since 2013, in connection with the manufacturing of smokers’ products. See

License Agreement attached hereto as Exhibit “C.”

       15.     Republic, as the current owner of the RooR Marks, executed a new License

Agreement with Sream on August 20, 2019 with many of the same or similar terms as the

License Agreement. A copy of the 2019 License Agreement is attached here to as Exhibit “D.”

       16.     Under the license agreements, Sream also advertises, markets, and distributes

water pipes, parts, and accessories related thereto and other smokers’ articles in association with

the RooR Marks. All of these activities are conducted in accordance with the highest standards

and policies maintained by Republic to control the quality of the RooR Brand.

       17.     Also pursuant to the license agreements, Sream has been granted all rights to sue

to obtain damages and injunctive relief for past and future infringement of the RooR Marks in

the United States (hereinafter the “Enforcement Rights”). See License Agreement attached

hereto as Exhibit “C” and 2019 License Agreement is attached here to as Exhibit “D.”

       18.     The RooR Marks are distinctive to both the consuming public and the Plaintiffs’

trade. Sream’s RooR branded products are made from superior materials – glass that is nearly

unbreakable – and are hand-blown by individual artists. Republic has maintained, and demanded

of Sream, the same standards that made RooR a recognizable high quality brand. The superiority

of RooR branded products is not only readily apparent to consumers, who yearn for the RooR




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brand’s higher quality glass in the marketplace, but to industry professionals as well. The unique

style and functional superiority of the RooR brand has earned it accolades in leading trade

magazines and online publications and has made the RooR Marks synonymous with high quality

products.

        19.     Since 2013, Sream has worked in conjunction with Mr. Birzle and now Republic

to build significant goodwill in the RooR brand in the United States. Together, the Plaintiffs have

spent substantial time, money, and effort in developing consumer recognition and awareness of

the RooR brand via point of purchase materials and displays, through their websites, by attending

industry trade shows, and through social media promotion. A wide array of websites, magazines,

and specialty shops include advertising of RooR branded products, which are immediately

identifiable.

        20.     Sream sells its products under the RooR Marks to its authorized distributors in the

United States, including in Illinois.      Sream has over a thousand authorized distributors

nationwide which include retail stores specializing in smoker’s products.         As such, RooR

branded products reach a vast array of consumers ranging from the most sophisticated tobacco

connoisseurs to novice smokers.

        21.     It is because of the recognized quality and innovation associated with the RooR

Marks that consumers are willing to pay higher prices for genuine RooR branded products. For

example, a RooR brand 45 cm water pipe retails for $300 or more, while a non-RooR branded

product of equivalent size will usually sell for less than $100. As such, sales of products bearing

the RooR Marks in the United States have been in excess of four million dollars ($4,000,000) for

the last three years.

        22.     It is exactly because of their higher sales value that RooR branded products are




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targeted by counterfeiters. These unscrupulous people and entities tarnish the RooR brand by

unlawfully selling water pipes that have identical, or nearly identical, versions of the RooR

Marks affixed to products that are made with inferior materials and technology. Thereby leading

to significant illegitimate profits by store owners, such as the Defendants. In essence, the

Defendants mislead consumers by offering them low grade products that free ride on the

goodwill of the RooR brand, and in turn, the Defendants reap substantial ill-gotten profits. The

Defendants’ conduct contributes to the complete flooding of the marketplace with counterfeit

products, which results in lost sales and damages to the Plaintiffs and irreparable harm to the

RooR brand’s image.

       23.     Unfortunately, the current U.S. marketplace is saturated with counterfeit products

– like those the Defendants have offered for sale. As such, the Plaintiffs have been forced to

scrupulously enforce their rights in order to protect the RooR Marks against infringement. By

exercising its Enforcement Rights, Sream, with the cooperation of its licensor, has proactively

and successfully policed the unauthorized use of the RooR Marks and/or counterfeit RooR

branded products nationwide. The Plaintiffs have had to bear great expense to seek out and

investigate suspected counterfeiters in their attempt to clean up the marketplace. In many

instances, the Plaintiffs have had to seek redress from the courts in order to enforce their rights in

the RooR Marks.

                     Defendants’ Counterfeiting and Infringing Activities

       24.     The Defendants have, without consent of the Plaintiffs, offered to sell within the

United States, including within this judicial district, water pipes that were neither made by the

Plaintiffs nor by a manufacturer authorized by the Plaintiffs (hereinafter the “Counterfeit

Good(s)”). Nevertheless, the Defendants offered for sale, in commerce, Counterfeit Goods using




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reproductions, counterfeits, copies and/or colorable imitations of one or more of the RooR Marks

(hereinafter the “Infringing Mark”).

         25.   On January 23, 2017, the Defendants offered for sale Counterfeit Goods bearing

an Infringing Mark from their retail store. Photos of the Defendants’ offer for sale of counterfeit

RooR products is attached hereto as Exhibit “E.” The photos in Exhibit “E” depict the

Defendants’ store and the Defendants’ offer for sale of Counterfeit Goods bearing an Infringing

Mark. The date and times in the pictures are true and correct.

         26.    BILO SMOKE used the RooR Marks by offering for sale unauthorized copies of

RooR branded products. BILO SMOKE’s offer for sale of Counterfeit Goods bearing the

Infringing Mark in this manner was and is likely to cause confusion or to cause mistake and/or

deceive consumers who purchase the Counterfeit Goods.

         27.   NAWZAT authorized, directed, and/or participated in BILO SMOKE’s offer for

sale, in commerce, of Counterfeit Goods bearing the Infringing Mark. NAWZAT’s acts were a

moving, active, and/or conscious force behind BILO SMOKE’s infringement of the RooR

Marks.

         28.   The Defendants’ use of the Infringing Mark began long after Mr. Birzle obtained

the trademark registrations alleged above, and after Sream’s license and subsequent adoption and

use of the RooR Marks. Neither the Plaintiffs nor any authorized agents have consented to the

Defendants’ use of the RooR Marks, or any use of reproductions, counterfeits, copies and/or

colorable imitations thereof.

         29.   The Defendants used images and names identical to or confusingly similar to the

RooR Marks, to confuse customers and aid in the promotion and sales of Counterfeit Goods

under the Infringing Mark.




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       30.     The Infringing Mark affixed to the Counterfeit Goods that the Defendants have

offered for sale is confusingly identical or similar to the RooR Marks that Sream affixes to its

water pipes.

       31.     The water pipes the Defendants offer for sale and sells under the Infringing Mark

are made of inferior materials and inferior technology as compared to genuine RooR brand

products.

       32.     BILO SMOKE has offered for sale, under the authority, direction and/or

participation of NAWZAT, its water pipes under the Infringing Mark through its retail store.

       33.     The Defendants’ infringing acts as alleged herein are likely to cause confusion,

mistake, and deception among the relevant consuming public as to the source or origin of the

Counterfeit Goods offered for sale by the Defendants, and are likely to deceive the relevant

consuming public into mistakenly believing that the Counterfeit Goods offered for sale by BILO

SMOKE originate from, are associated or affiliated with, or are otherwise authorized by

Republic and/or Sream.

       34.     BILO SMOKE ’s acts are willful with the deliberate intent to trade on the

goodwill of the RooR Marks, cause confusion and deception in the marketplace, and divert

potential sales of authentic ROOR water pipes to BILO SMOKE . At a minimum, BILO

SMOKE was intentionally blind to the likelihood of confusion.

       35.     NAWZAT actively, knowingly, and intentionally adopted and used the Infringing

Marks with the intent to trade on the goodwill of the RooR Marks, cause confusion and

deception in the marketplace, and divert potential sales of authentic ROOR water pipes to the

Defendants.

       36.     The Defendants’ acts are causing and, unless restrained, will continue to cause




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damage and immediate irreparable harm to the Plaintiffs, the RooR Marks, and to its valuable

reputation and goodwill with the consuming public for which the Plaintiffs have no adequate

remedy at law.

       37.       As a proximate result of the unfair advantage accruing to the Defendants’

business from deceptively trading on the Plaintiffs’ advertising, sales, and consumer recognition,

the Defendants have made and will continue to make profits and gains to which they are not in

law or equity entitled.

       38.       The injuries and damages sustained by the Plaintiffs have been directly and

proximately caused by BILO SMOKE’s wrongful offers for sale, authorized by NAWZAT, of

their goods bearing infringements or counterfeits of the RooR Marks.

       39.       The Defendants’ offer for sale of Counterfeit Goods under the Infringing Mark

has resulted in lost business opportunities, customers, contracts, and sales to the Plaintiffs.

       40.       Through such business activities, the Defendants purposefully derived direct

benefits from its interstate commerce activities by targeting foreseeable purchasers in the State of

Illinois, and in doing so, have knowingly harmed the Plaintiffs.

       41.       By its wrongful conduct, the Defendants have traded upon and diminished the

goodwill of the RooR Marks. Furthermore, the offer for sale of Counterfeit Goods by BILO

SMOKE, authorized by NAWZAT, has infringed upon the above-identified federally registered

trademarks.

       42.       The spurious marks or designations used by the Defendants in interstate

commerce are identical with, or substantially indistinguishable from, the RooR Marks on goods

covered by the RooR Marks. Such use therefore creates a false affiliation between the

Defendants and the Plaintiffs, and the RooR Marks.




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          43.      Due to the actions of the Defendants, the Plaintiffs have been forced to retain the

undersigned counsel, and the Defendants are responsible for paying the reasonable costs of the

action.

          44.      The Defendants’ acts have damaged, and will continue to damage the Plaintiffs,

and the Plaintiffs have no adequate remedy at law.

          45.      The Defendants’ wrongful acts will continue unless enjoined by the Court.

Accordingly, the Defendants must be restrained and enjoined from any further counterfeiting or

infringement of the RooR Marks.

                                          Count One
                Federal Trademark Counterfeiting and Infringement, 15 U.S.C. § 1114

          46.      Republic repeats and realleges paragraphs 1 through 45 hereof, as if fully set forth

herein.

          47.      Republic is the owner of the federally registered RooR Marks, as set forth in more

detail in the foregoing paragraphs.

          48.      The RooR Marks are valid, protectable, and distinctive trademarks that Mr. Birzle

and now Republic continuously used to promote its goods for almost two decades, of which

Sream has participated in since at least 2013. The relevant purchasing public recognizes the

RooR Marks as originating from and/or approved by Republic and/or its exclusive U.S. licensee,

Sream.

          49.      The Defendants, without authorization from the Plaintiffs, have used in commerce

spurious designations that are identical with, or substantially indistinguishable from, the RooR

Marks on goods covered by the registrations for the RooR Marks.

          50.      The Defendants’ unauthorized use of counterfeit marks of the registered RooR

Marks on and in connection with BILO SMOKE ’s offers for sale in commerce, under the



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authorization, direction and/or participation of NAWZAT , is likely to cause confusion or

mistake in the minds of the public and, in particular, tends to, and does, falsely create the

impression that the water pipes offered for sale by BILO SMOKE               originated with, are

authorized, sponsored or approved by Sream and/or Republic when, in fact, it is not.

       51.     The Defendants’ unauthorized use of the RooR Marks as set forth above is likely

to: (a) cause confusion, mistake and deception; (b) cause the public to believe that the water pipe

offered for sale by BILO SMOKE is the same as Sream’s water pipes or that the water pipes

offered for sale by BILO SMOKE are authorized, sponsored, or approved by Sream and/or

Republic, or that the Defendants are affiliated, connected, or associated with or in some way

related to Sream and/or Republic; and (c) result in the Defendants unfairly benefiting from the

Plaintiffs’ advertising and promotion, and profiting from the reputation of the Plaintiffs and the

RooR Marks, all to the substantial and irreparable injury of the public, the Plaintiffs and the

RooR Marks, and the substantial goodwill represented thereby.

       52.     BILO SMOKE ’s conduct as alleged herein is willful and is intended to, and is

likely to, cause confusion, mistake, or deception as to the affiliation, connection, or association

of BILO SMOKE , with the Plaintiffs or the RooR Marks.

       53.     NAWZAT actively, knowingly, and intentionally adopted and used the Infringing

Marks with the intent to trade on the goodwill of the RooR Marks, cause confusion and

deception in the marketplace, and divert potential sales of authentic ROOR water pipes to the

Defendants.

       54.     NAWZAT’s acts were a moving, active, and conscious force behind BILO

SMOKE’s infringement of the RooR Marks.

       55.     NAWZAT personally engaged in tortious conduct within the state of Illinois.




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          56.   The Defendants’ acts constitute willful trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114.

          57.   The Defendants’ actions constitute the use by the Defendants of one or more

“counterfeit mark” as defined in 15 U.S.C. § 1116(d)(1)(B).

          58.   The Defendants’ use in commerce of the counterfeit RooR Marks has resulted in

lost profits to the Plaintiffs which are difficult to determine, caused considerable damage to the

goodwill of the Plaintiffs and the RooR Marks, and diminished the brand recognition of the

RooR Marks by introducing counterfeit products into the marketplace.

          59.   By reason of the foregoing, Republic is entitled to, among other relief, injunctive

relief, an award of statutory damages, and costs of the action under Sections 34 and 35 of the

Lanham Act, 15 U.S.C. §§ 1116, 1117, together with prejudgment and post-judgment interest.

                                       Count Two
                    Federal Trademark Counterfeiting, 15 U.S.C. § 1116(d)

          60.   Republic repeats and realleges paragraphs 1 through 45 hereof, as if fully set forth

herein.

          61.   Republic is the owner of the federally registered RooR Marks, as set forth in more

detail in the foregoing paragraphs.

          62.   The RooR Marks are valid, protectable, and distinctive trademarks that Mr. Birzle

and now Republic continuously used to promote its goods for almost two decades, of which

Sream has participated in since at least 2013. The relevant purchasing public recognizes the

RooR Marks as originating from and/or approved by Republic and/or its exclusive U.S. licensee,

Sream.

          63.   The Defendants, without authorization from the Plaintiffs, have used spurious

designations that are identical with, or substantially indistinguishable from, the RooR Marks on



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goods covered by the registrations for the RooR Marks.

       64.     The Defendants’ unauthorized use of the RooR Marks on and in connection with

BILO SMOKE’s offers for sale in commerce, under the authorization, direction and/or

participation of NAWZAT, of water pipes through its retail store constitutes BILO SMOKE’s

use of the RooR Marks in commerce.

       65.     BILO SMOKE ’s conduct as alleged herein is willful and is intended to, and is

likely to, cause confusion, mistake, or deception as to the affiliation, connection, or association

of BILO SMOKE , with the Plaintiffs or the RooR Marks.

       66.     NAWZAT actively, knowingly, and intentionally adopted and used the Infringing

Marks with the intent to trade on the goodwill of the RooR Marks, cause confusion and

deception in the marketplace, and divert potential sales of authentic ROOR water pipes to the

Defendants.

       67.     NAWZAT’s acts were a moving, active, and conscious force behind BILO

SMOKE’s infringement of the RooR Marks.

       68.     NAWZAT personally engaged in tortious conduct within the state of Illinois.

       69.     The Defendants’ actions constitute trademark counterfeiting in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1116(d)(1)(B).

       70.     The offer for sale of counterfeit products by BILO SMOKE, under the

authorization, direction and/or participation of NAWZAT, has resulted in lost profits to the

Plaintiffs, caused considerable damage to the goodwill of the Plaintiffs and the RooR Marks, and

diminished the brand recognition of the RooR Marks by introducing counterfeit products into the

marketplace.




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         71.    By reason of the foregoing, Republic is entitled to, among other relief, injunctive

relief, an award of statutory damages, and costs of the action under Sections 34 and 35 of the

Lanham Act, 15 U.S.C. §§ 1116, 1117, together with prejudgment and post-judgment interest.

                                       Count Three
      Federal False Designation of Origin and Unfair Competition, 15 U.S.C. § 1125(a)

         72.    The Plaintiffs repeat and reallege paragraphs 1 through 45 hereof, as if fully set

forth herein.

         73.    Republic is the owner of the federally registered RooR Marks, as set forth in more

detail in the foregoing paragraphs. Mr. Birzle, as prior owner of the RooR Marks, and Republic,

as the current owner of the RooR Marks, granted to Sream an exclusive license to use the RooR

Marks in the United States, including the Enforcement Rights to obtain injunctive and monetary

relief for past and future infringement of the RooR Marks.

         74.    The RooR Marks are valid, protectable, and distinctive trademarks that Mr. Birzle

and now Republic continuously used to promote its goods for almost two decades, of which

Sream has participated in since at least 2013. The relevant purchasing public recognizes the

RooR Marks as originating from and/or approved by Republic and/or its exclusive U.S. licensee,

Sream.

         75.    The Defendants, without authorization from the Plaintiffs, have used spurious

designations that are identical with, or substantially indistinguishable from, the RooR Marks on

goods covered by the registrations for the RooR Marks.

         76.    The Defendants’ unauthorized use of counterfeit marks of the registered RooR

Marks on and in connection with BILO SMOKE ’s offers for sale, under the authorization,

direction and/or participation of NAWZAT, is likely to cause confusion or mistake in the minds

of the public and, in particular, tends to, and does, falsely create the impression that the water



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pipes offered for sale by BILO SMOKE originated with, are authorized, sponsored or approved

by Sream and/or Republic when, in fact, it is not.

        77.    The Defendants’ unauthorized use in commerce of the RooR Marks as alleged

herein constitutes use of a false designation of origin and misleading description and

representation of fact in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

        78.    BILO SMOKE ’s conduct as alleged herein is willful and is intended to, and is

likely to, cause confusion, mistake, or deception as to the affiliation, connection, or association

of BILO SMOKE , with the Plaintiffs or the RooR Marks.

        79.    NAWZAT actively, knowingly, and intentionally adopted and used the Infringing

Marks with the intent to trade on the goodwill of the RooR Marks, cause confusion and

deception in the marketplace, and divert potential sales of authentic ROOR water pipes to the

Defendants.

        80.    NAWZAT’s acts were a moving, active, and conscious force behind BILO

SMOKE’s infringement of the RooR Marks.

        81.    NAWZAT personally engaged in tortious conduct within the state of Illinois.

        82.    The Defendants’ conduct as alleged herein is causing immediate and irreparable

harm and injury to the Plaintiffs, and to the goodwill and reputation of the RooR Marks, and will

continue to both damage the Plaintiffs and confuse the public unless enjoined by this Court. The

Plaintiffs have no adequate remedy at law.

        83.    By reason of the foregoing, the Plaintiffs are entitled to, among other relief,

injunctive relief, an award of statutory damages, and costs of the action under Sections 34 and 35

of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with prejudgment and post-judgment

interest.




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                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiffs, Sream, Inc. and Republic Technologies (NA), LLC,

respectfully request the following relief against the Defendants as follows:

       1.      With regard to Plaintiffs’ claim for trademark infringement:

                   a. Statutory damages under 15 U.S.C. § 1117(c) in the amount of

                      $15,000.00;

                   b. Costs of suit;

                   c. Joint and several liability for NAWZAT , and other officers, and directors,

                      for the knowing participation in the counterfeiting activities of BILO

                      SMOKE ;

       2.      With regard to Plaintiffs’ claim for counterfeiting:

                   a. Statutory damages under 15 U.S.C. § 1117(c) in the amount of

                      $15,000.00;

                   b. Costs of suit;

                   c. Joint and several liability for NAWZAT , and other officers, and directors,

                      for the knowing participation in the counterfeiting activities of BILO

                      SMOKE ;

       3.      With regard to Plaintiffs’ claim for false designation and unfair competition:

                    a. Statutory damages under 15 U.S.C. § 1117(c) in the amount of

                       $15,000.00;

                    b. Costs of suit;




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                     c. Joint and several liability for NAWZAT , and other officers, and

                         directors, for the knowing participation in the counterfeiting activities of

                         BILO SMOKE ;

        4.      Preliminarily and permanently enjoining BILO SMOKE                  and its agents,

employees, officers, directors, owners, representatives, successor companies, related companies,

and all persons acting in concert or participation with it from:

                    a. The import, export, making, manufacture, reproduction, assembly, use,

                        acquisition, purchase, offer, sale, transfer, brokerage, consignment,

                        distribution, storage, shipment licensing, development, display, delivery,

                        marketing, advertising or promotion of the counterfeit RooR product

                        identified in the Complaint and any other unauthorized RooR product,

                        counterfeit, copy or colorful imitation thereof;

        5.      Pursuant to 15 U.S.C. § 1116(a), directing BILO SMOKE to file with the Court

and serve on the Plaintiffs within thirty (30) days after issuance of an injunction, a report in

writing and under oath setting forth in detail the manner and form in which BILO SMOKE has

complied with the injunction;

        6.      For an order form the Court requiring that BILO SMOKE provide complete

accountings and for equitable relief, including that BILO SMOKE disgorge and return or pay

their ill-gotten gains obtained from the illegal transactions entered into and/or pay restitution,

including the amount of monies that should have been paid if BILO SMOKE had complied with

their legal obligations, or as equity requires;




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        7.     For an order from the Court that an asset freeze or constructive trust be imposed

on all monies and profits in BILO SMOKE ’s possession, which rightfully belong to the

Plaintiffs;

        8.     Pursuant to 15 U.S.C. § 1118 requiring that BILO SMOKE and all others acting

under BILO SMOKE ’s authority, at its cost, be required to deliver up to Sream for destruction

all products, accessories, labels, signs, prints, packages, wrappers, receptacles, advertisements,

and other material in their possession, custody or control bearing any of the RooR Marks;

        9.     For treble damages suffered by the Plaintiffs as a result of the willful and

intentional infringements engaged in by BILO SMOKE , under 15 U.S.C. § 1117(b);

        10.    For all costs of suit;

        11.    For such other and further relief as the Court may deem just and equitable.



Date: January 22, 2020                              Respectfully Submitted
                                                     /s/Christopher V. Langone
                                                    One of Plaintiff’s Attorneys
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